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16
                              NORTHERN DISTRICT OF CALIFORNIA
17
                                     SAN FRANCISCO DIVISION
18

19   IN RE: ZOOM VIDEO COMMUNICATIONS                 Master Case No. 3:20-cv-02155-LB
     INC. PRIVACY LITIGATION,
20
                                                      PLAINTIFFS’ MEMORANDUM IN
21   This Document Relates To:                        OPPOSITION TO OBJECTORS’
                                                      MOTION FOR AWARD OF
22          All Actions                               ATTORNEYS’ FEES AND INCENTIVE
                                                      AWARDS
23
                                                      Judge:           Hon. Laurel Beeler
24                                                    Courtroom:       B-15th floor
25                                                    Date:            February 2, 2023
                                                      Time:            9:30 a.m.
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                                                              PLAINTIFFS’ MPA IN OPP. TO OBJECTORS’
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 1   I.      INTRODUCTION
 2           An award of attorneys’ fees requires “a showing that objectors substantially enhanced the

 3   benefits to the class under the settlement” and, in the absence of such a showing, objectors are not

 4   entitled to fees “as a matter of law.” Vizcaino v. Microsoft Corp. 290 F.3d 1043, 1052 (2002)

 5   (emphasis added).

 6           Here, Objectors Sammy Rodgers and Alvery Neace (“Rodgers/Neace”) and Judith Cohen

 7   (“Cohen”) (collectively, “Objectors”) reached settlements providing limited benefits to the

 8   Settlement Class that impacted the fringes of the Class Settlement Agreement. At the same time,

 9   Objectors effectively delayed distribution of settlement funds to millions of Class Members.

10   Nonetheless, they now ask the Court to approve fees representing 100% of their lodestar,

11   notwithstanding the fact that (1) the Court overruled their objections in their entirety, (2) they

12   abandoned their primary objections and agreed to settlements providing narrow, non-monetary

13   benefits to the Class, and (3) rather than submit detailed records segregating the hours reasonably

14   spent to obtain such relief, they included all their time on this case (including time spent on their

15   fee motions). The Court should reject such gross overreaching and deny the request for attorneys’

16   fees.

17           Objectors had ample guidance on the applicable standard and the need for a sufficient

18   record. In the Court’s Order Granting Motion for Indicative Ruling (“Indicative Order”), deferring

19   the issue of attorneys’ fees, the Court explicitly cited Vizcaino’s standard that fees be tied to a

20   substantial enhancement of benefits, not merely the total time spent on the case. Dkt. at 5. The

21   Court also noted that Objectors, as the moving parties, had the burden to submit “detailed time

22   records” justifying the time spent to obtain these benefits. Id. The motions do not follow this

23   guidance. Just because the settlements provide that an award will be paid from fees previously

24   awarded to Lead Counsel, who spent years pursuing difficult claims and obtained one of the largest

25   privacy settlements in United States history, there is no excuse for Objectors’ windfall request for

26   fees pursuing dubious objections, obtaining limited benefits, and delaying distributions to millions

27   of Class Members. The motions should be denied.

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 1   II.       PROCEDURAL BACKGROUND
 2             A.     Settlement and Positive Class Reaction
 3             After several years of hard-fought litigation, Plaintiffs obtained a historic settlement for

 4   Class Members, providing $85 million in cash, one of the largest privacy recoveries to consumers

 5   in history, as well as comprehensive reforms to one of the most popular apps in America. Now that

 6   Objectors have finally dismissed their appeals, Class Members who submitted Paid Subscription

 7   Claims are expected to receive 30% of the total amount paid for the Zoom app (an average of $95),

 8   and those with User Claims (users who did not pay to use Zoom) are expected to receive an average

 9   of $29.

10             Class Members overwhelmingly support the Settlement. More than 1.45 million Class

11   Members submitted claim forms, while only five (5) objections were filed, of which two (2)

12   complained about class action settlements generally. The three others are the subject of this motion.

13             B.     Rogers/Neace and Cohen Assert Extensive Objections, All Rejected by the
                      Court
14
               Objectors Rogers/Neace and Cohen objected to various aspects of the Settlement, including
15
     the proposed class definition, plan of distribution, language of the notice, claim process, and even
16
     the size of the envelopes of the mailed checks.
17
               The objection filed by Rodgers/Neace (Dkt. 228) included a laundry list of meritless
18
     criticisms, including: (1) unfair pro hac vice requirements; (2) unclear language in the class notice
19
     describing the release of “unknown claims”; (3) unfair documentation requirements showing that
20
     Class Members used, opened, or downloaded the Zoom Meeting Application; (4) the lack of a
21
     review process for denied claims; (5) improper distribution of unclaimed funds to Class Members,
22
     rather than to states through their escheatment rules; (6) the need for a form to update addresses on
23
     the settlement website, and (7) the need for procedural changes to the payment process, including
24
     that checks “be sent in a normal business (#10) envelope” and that Class Members have additional
25
     time to cash their checks. Dkt. 228.
26
               Similarly, the objection filed by Cohen (Dkt. 227) called for the creation of a new “subclass”
27
     or “subset” of the Settlement Class composed of:
28

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 1           “All settlement class members who used Zoom video communications services as
             part of a business that was legally or contractually required to maintain client
 2           confidentiality as a part of services the business provided.”
 3   According to Cohen, this “subclass” of Zoom users suffered unique harm that “qualitatively differs
 4   from the harms suffered by the larger group of class members” and required additional
 5   compensation. Cohen also proposed changes to the Plan of Distribution in order to “reapportion”
 6   additional funds to the subclass for their supposedly “unique” damages. Dkt. 227.
 7           After considering the Rogers/Neace and Cohen Objections, the Court rejected them in their
 8   entirety, granted final approval of the Settlement Agreement, and entered final judgment. Dkt. 249-
 9   250.1
10
             C.     Rogers/Neace and Cohen Appeal, Then Agree to Settlements Providing Limited
11                  Benefits to the Settlement Class
             Less than one month after the Court granted final approval to the Settlement, Rodgers/Neace
12
     and Cohen filed separate Notices of Appeal. Dkt. 251-252. Notably, other than filing these two-
13
     page, form documents, and participating in a single phone call with the Ninth Circuit’s mediation
14
     coordinator, Objectors engaged in little other activity in the Ninth Circuit. Objectors never filed an
15
     appellate brief.   Rather, after months of inactivity, Plaintiffs engaged Objectors regarding
16
     settlement and soon thereafter reached separate agreements providing limited relief addressing just
17
     portions of their respective objections.
18
             The settlement with Rodgers/Neace provides that the Administrator will update the form
19
     used by class members to update their address and modify certain procedures to mail and deposit
20
     checks (for the limited number of Class Members who asked for physical checks rather than
21
     electronic payments). Dkt. 260-1 at 7. These procedural changes include mailing checks in
22
     “Number 10” business envelopes, providing more notice if checks are returned uncashed, and
23
     giving Settlement Class Members an additional 30 days to cash mailed checks. Id. While these
24
     procedures benefit the Class, they are limited in nature. Rodgers/Neace did not obtain any relief
25
     related to the lion’s share of their objections, including changes to pro hac vice requirements, the
26

27
     1
28    In its Final Approval Order, the Court noted that the Rogers/Neace objections were also
     untimely, and both failed to show they were even Settlement Class Members. Dkt. 249 at 12.
                                                                     PLAINTIFFS’ MPA IN OPP. TO OBJECTORS’
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 1
     Class Notice, the claim form and documentation requirements, the claim approval and review
 2
     process, or distribution of unclaimed funds through state escheatment procedures.
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            Similarly, the settlement with Cohen did not provide the primary relief sought in her
 4
     objection, i.e., the creation of a business “subclass” and reallocation of settlement funds to that
 5
     subclass. Rather, Plaintiffs and Zoom merely agreed to a narrow “carve out” of the release to permit
 6
     future claims against Zoom for indemnification or contribution in the event a state-licensed
 7
     professional is sued based on Zoom’s failure to protect confidential information. Dkt. 260-1 at 15-
 8
     16. Such a claim seems highly hypothetical, since Zoom denies any breach occurred, Cohen is
 9
     unaware of any breach, and no claim or suit has ever been filed. In any event, this specific carve-
10
     out addresses one of Cohen’s objections, i.e., that the Settlement Agreement did not account for the
11
     risk of possible lawsuits that might be filed against medical or other professionals in the future. Id.
12
     Cohen’s primary requests for relief were denied and unsuccessful.
13
     III.   ARGUMENT
14
            A.         Legal Standard
15
            Any “payment or other consideration . . . provided in connection with . . . withdrawing an
16
     objection” to a class-action settlement must be approved by the court.              Fed. R. Civ. P.
17
     23(e)(5)(B)(i).
18
            Consideration provided to objector counsel can only be approved if the objector
19
     “substantially enhanced the benefits to the class under the settlement.” Vizcaino, supra, 290 F.3d
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     at 1051-52. “The ‘substantial benefit’ need not be financial,” but if it is not, “the court must
21
     carefully scrutinize the benefits conferred” to determine whether they are more than “technical or
22
     coincidental.” In re HP Inkjet Printer Litig. No. 5:05-CV-3580 JF, 2011 WL 2462475, at *1 (N.D.
23
     Cal. June 20, 2011).
24
            Fees for objector counsel should be evaluated based “on the same equitable principles as
25
     [fees for] class counsel.” Rodriquez v. Disner, 688 F.3d 645, 658 (9th Cir. 2012). Thus, “where
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     objectors do not add any new legal argument or expertise,” or “do not participate constructively in
27
     the litigation,” no fees should be awarded. Id. at 659. The amount of any fee award is a matter for
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                                                                     PLAINTIFFS’ MPA IN OPP. TO OBJECTORS’
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     a district court’s discretion. Id. at 653.
 2
             Here, Objectors admit that they obtained only non-monetary benefits, and therefore seek an
 3
     award under the lodestar method. To calculate the lodestar, a district court should “multiply the
 4
     number of hours reasonably spent in achieving the results obtained by a reasonable hourly rate.”
 5
     Wininger v. SI Mgmt. L.P., 301 F.3d 1115, 1125 (9th Cir. 2002) (emphasis in original). Conversely,
 6
     hours spent by objectors “in unsuccessful efforts unrelated to their success” should not be included.
 7
     Id. It is not up to the district court to try to segregate the time devoted to successful efforts. Rather,
 8
     objectors “bear the burden of submitting detailed time records justifying the hours claimed to have
 9
     been expended” and a district court properly removes any hours that have not been proved to be
10
     reasonably expended. Id. at 1126 (objector’s motion seeking “all the hours worked on the case . .
11
     . patently [fell] short” of the requirements where objector only had limited success).
12
             In the even an objector can establish a reasonable lodestar, a district court may then apply
13
     a negative or positive multiplier to adjust it downward or upward reflecting a host of
14
     “reasonableness” factors, including the quality of representation, benefits obtained, complexity of
15
     issues presented, and risk of non-payment. In re Bluetooth headset Prods. Liab. Litig., 654 F.3d
16
     935, 942 (9th Cir. 2011). “Foremost among these considerations, however, is the benefit obtained
17
     for the class.” Id.
18
             Finally, payments to objectors themselves in connection with withdrawing an objection are
19
     evaluated in the same way as incentive awards for named plaintiffs. In re Transpacific Passenger
20
     Air Transp. Antitrust Litig., No. C-07-05634 CRB, 2015 WL 4776946, at *2 (N.D.Cal. Aug. 13,
21
     2015). As with payments to objector counsel, the objector must have “substantially enhanced the
22
     benefits to the class under the settlement.” See Fraley v. Facebook, Inc., No. C 11-1726 RS, 2014
23
     WL 806072, at *1-2 (N.D. Cal. Feb. 27, 2014).
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 1          B.         Application
 2          Objectors’ motions for attorneys’ fees and incentive awards fail to comply with virtually all

 3   of the legal prerequisites cited above.

 4          First, Objectors fail to demonstrate that the relief provided in their settlements “substantially

 5   enhanced the benefits” provided to the Settlement Class. To the contrary, the relief provided by

 6   Rogers/Neace consists of limited, technical enhancements to the claims administration process

 7   relating to the narrow set of Class Members electing to receive their distributions by mailed checks

 8   (instead of electronically), including minor modifications to the website to update addresses, use

 9   of specific-sized envelopes, and 30 additional days to cash mailed checks. While beneficial to the

10   Settlement Class, they do not amount to substantial enhancements that justify an award of

11   attorneys’ fees. Similarly, Cohen only obtained a narrow carve out to the release language, which

12   will only come into play in the (unlikely) future event that professional Zoom users are sued by

13   their clients for a breach of confidentiality relating to a Zoom meeting. Again, while the right to

14   seek indemnification from Zoom is beneficial to some Class Members, the value is limited and not

15   a “substantial enhancement.”

16          Second, even if one assumed that the Objectors “substantially enhanced” the benefits to the

17   Settlement Class, they both fail to establish their lodestar to obtain such benefits, as was their

18   burden. Neither attempts to segregate their time, and instead both merely include all of their time

19   in this case, including time spent pursuing meritless objections, appeals, and even filing their

20   motion for attorneys’ fees. Based on the law cited above, the Court should reject any time that was

21   not reasonably expended for the benefits obtained.

22          Third, even if one assumed the Objectors “substantially enhanced” the benefits and properly

23   segregated their time in their lodestar, the Court should discount that lodestar with a significant,

24   negative multiplier given the relevant factors. Here, a downward adjustment is warranted given

25   the limited benefits obtained for the Settlement Class, the questionable quality of representation

26   (including filing late and improper objections), and the lack of complexity or novelty presented by

27   the objections.

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 1
            Finally, because the Objectors also failed to show how they substantially enhanced the
 2
     benefits to the Settlement Class, they should not receive incentive awards. Indeed, only Cohen
 3
     even bothered to submit a declaration and she failed to describe any efforts or time spent on this
 4
     case, much less tied to the settlement relief. Rather, the Objectors’ argument seems to be that
 5
     because the Plaintiffs received incentive awards they should too. However, Plaintiffs devoted years
 6
     to this action, pursuing claims, responding to extensive discovery, and assisting settlement
 7
     discussions that resulted in a substantial monetary recovery for millions of Class Members.
 8
     Conversely, it is unclear what any of the Objectors did in this case. Because they failed to support
 9
     their request for an incentive award, it should be denied.
10
     IV.    CONCLUSION
11
            The Court should not award attorneys’ fees to Objectors’ counsel or incentive awards to
12
     Objectors who did not substantially enhance the benefits to the Settlement Class. In the event the
13
     Court determines that awards are appropriate, they should be based on the limited nature of relief
14
     obtained for the Class and the minor amount of time spent to obtain such relief.
15
                                                     COTCHETT, PITRE & MCCARTHY, LLP
16     Dated: January 11, 2023
                                                     By: /s/ Mark Molumphy
17                                                       Mark Molumphy (SBN 168009)

18                                                   Attorneys for Plaintiffs

19                                                   AHDOOT & WOLFSON, PC

20                                                   By: /s/ Tina Wolfson
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                                                                    PLAINTIFFS’ MPA IN OPP. TO OBJECTORS’
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 1                                  SIGNATURE ATTESTATION
 2          I am the ECF User whose identification and password are being used to file the foregoing

 3   Memorandum in Opposition to Objectors’ Motion for Fees and Incentive Awards. Pursuant to L.R

 4   5-1(i)(3) regarding signatures, I, Mark C. Molumphy attest that concurrence in the filing of this

 5   document has been obtained.

 6   Dated: January 11, 2023                      /s/ Mark C. Molumphy
 7                                                       Mark C. Molumphy

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